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State of Florida

vs.

United States

 

Deposition of:

Matthew Davies

July 18, 2022

 

Vol 01

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Raising the Bar!

 

 

 

 
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1 future.

2 Other disposition outcomes 4nclude withdrawal
3 of application for admission, a voluntary act that

4 CBP may offer as an act of discretion for a

5 noncitizen that we feel is inadmissible, they may be
6 subject to expedited removal, they may be issued a

7 notice to appear in removal proceedings in front of

8 an immigration judge.

9 I'm trying to think through, there may
10 be a few other dispositions for -- oh, so for
11 arriving -- arriving noncitizens may also be paroled.
12 We see this a lot with individuals who are coming to
13 seek medical -- urgent medical treatment. There may
14 be times where that parole is coordinated in advance
15 by either the USCIS, United States Citizenship and

16 Immigration Services, or ICE, Immigration and Customs
17 Enforcement, depending on whether it's for

18 humanitarian or law enforcement reasons.

19 CBP operates independent or has independent
20 parole authority for similar circumstances to the

21 extent that some of those cases may not have been

22 prearranged with USCIS or ICE.

23 We may also for non-arriving noncitizens have
24 case dispositions that would include voluntary

25 return, which is similar to a withdrawal of

 

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1 A. So the -- the administration has been
2 trying to at points remove or move us away from
3 Title 42, and we have been as a part of that effort,
4 trying to increase the number of exceptions that we
5 can process at ports of entry.
6 We have the ability to process more
7 individuals, but I think one of the complicating
8 factors in all of this has been that if those
9 individuals were processed at ports of entry without
10 consideration for where they go after we're done with
11 their processing, it would -- it would create
12 additional strain on the system, right, and so I
13 think one of those -- one of those things that we
14 look at is to the extent that individuals may not be
15 subject to detention, whether there's similar
16 capacity downstream for our partners with
17 non-governmental organizations and others who operate
18 shelters or provide assistance to undocumented
19 noncitizens after they have been processed through a
20 port of entry.
21 MS. RYAN: Can we take a ten?
22 MS. PATEL: Yes, can I just ask, I have
23 just a couple more questions on this document
24 and then it's a good stopping point.
25 MS. RYAN: Sure.

 

 

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1 other options ICE may provide if any.

2 So in the case where there's some other

3 option that is pursued, ICE is the one making those

4 decisions and ultimately executing. There are other
5 cases, including cases that are not -- that may not

6 be referred to ICE on an individual basis where OFO

7 is executing a parole after the initiation of removal
8 proceedings.

9 BY MS. PATEL:

10 Q. In what such circumstances would OFO

11 entering a parole?

12 MS. RYAN: Objection.

13 A. So if we're talking about people who are
14 issued a notice to appear, then OFO may -- may

15 execute a parole if there are humanitarian or medical
16 concerns. Largely those are going to be the

17 overriding factors.

18 But we're also looking at whether there is a
19 flight risk, whether there are other factors that
20 would be aggravating and warrant detention. So we're
21 looking at things like is there a threat posed to the
22 community, is there a concern about a terrorist
23 threat or a national security threat or is there

24 evidence of criminal history, those are the types of
25 things we will be looking at. And if there was

 

 

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1 evidence of any of those threat factors, those are

2 the cases that we would typically be referring to ICE
3 for detention.

4 BY MS. PATEL:

5 Q. Okay. I think it's a good time to

6 take a little ten-minute break if you want to do

7 that.

8 MS. RYAN: Yeah, let's do that, the time
9 is 11:00 exactly so.
10 MS. PATEL: All right. Let's be back at
il 11:10.
12 THE VIDEOGRAPHER: The time is 10:59 and
13 we are off the record.
14 (Brief break.)
15 THE VIDEOGRAPHER: The time is 11:13 and
16 we are back on the record.
17 BY MS. PATEL:
18 Q. All right. So I want to go back to the
19 discussion we were having regarding transfer to ICE
20 custody, or ICE detention capacity. So when you make
21 a referral to ICE, does ICE actually take custody of
22 the person?
23 MS. RYAN: Objection.
24 A. So the way that we contact ICE in the
25 field, it sometimes varies, because we don't have ICE

 

 

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1 going to be an impact on OFO operations. If we are

2 required to hold an individual, and which may also be
3 impacted by whether there is detention capacity, so

4 in a roundabout way, even if we're not directly

5 considering detention capacity, we may be concerned

6 about the impacts of holding individuals for a

7 prolonged period of time in our limited holding

8 facilities at ports of entry.

9 BY MS. PATEL:
10 Q. Are there any restrictions or guidelines
11 on how long you can hold someone at your temporary

12 holding facility?

13 A. Typically we try not to keep people at a
14 port of entry in the holding facility longer than 72
15 hours. Really we try to get people out quicker than
16 that if at all possible. And if it -- typically ina
17 case where we're going to have someone who may extend
18 beyond 24 hours, if it's -- if it's possible, we try
19 to temporarily transfer that person into ICE custody
20 so that they can have access to a facility that meets
21 certain standards in regard to detention that we are
22 unable to provide at a port of entry.

23 Q. Does the country of origin make a
24 difference as to the available processing outcome?

25 A. So typically would say no, I know that

 

 

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1 recently we've had two -- two specific programs where

2 we have looked at world events and exercised

3 discretionary authority on behalf of DHS for in the

4 first instance, individuals fleeing from Afghanistan

5 last year, starting in August where that was a factor

6 that was considered because of the events that were

7 occurring in Afghanistan along -- along with other

8 factors.

9 So you know, we were looking at individuals
10 who were fleeing from events in Afghanistan and, you
11 know, whether -- and how they could be facilitated
12 for entry into the United States, whether through an
13 existing program, whether they were in the pipeline
14 so to speak, for special immigrant Visa processing or
15 whether they had other family members, but because of
16 the urgency and the urgent humanitarian needs, we
17 decided to parole a large number of those individuals
18 in directly.

19 and then following in February, March of this
20 year, given the events in Ukraine, enacted a somewhat
21 similar program for Ukrainian nationals who are

22 seeking to temporarily flee from the violence in

23 their country.

24 Q. Okay. Is there anyone else, any other

25 countries?

 

 

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1 isn't a potential processing pathway; is that rege ®
2 accurate?

3 MS. RYAN: Objection.

4 A. We are currently processing people who

5 may have -- who have entered the United States for

6 expulsion to the extent they don't need an exception
7 under Title 42. And yes, we are still preventing the
8 entry of individuals.

9 To the extent we are preventing their entry,
10 I don't know that we would call it a processing

11 disposition, because they're not really being

12 processed, but the expulsions I think may be

13 clarified fairly as a processing disposition.
14 BY MS. PATEL:
15 Q. Okay. Does OFO issue notices to appear
16 and then release persons on their own recognizance?
17 A. Typically when OFO issues a notice to

18 appear and that person is not put into detention,

19 they are paroled from custody by OFO.

20 Q. Under what circumstances would OFO issue
21 a notice to appear and then parole, issue parole?

22 MS. RYAN: Objection.

23 A. So we -- I think 1 covered when we came
24 back. So there is a number of instances where we

25 would issue a notice to appear, largely for any of

 

 

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1 the circumstances where an individual could be

2 snadmissible after having been inspected at a port of
3 entry.

4 And the cases that would potentially be

5 eligible for parole following that issuance would be
6 those where there are -- where management has decided
7 based on a review of the totality of circumstances

8 and all of the factors outlined in the discretionary
9 checklist, that that's an appropriate outcome, you

10 know, largely focusing on those factors that would
11 represent a threat to the community as the reasons

12 for pursuing detention.
13 BY MS. PATEL:
14 Q. Okay. And that option is available for
15 both individuals and families; is that accurate?

16 MS. RYAN: Objection.

17 A. The option of issuing an NTA and then

18 being paroled?

19 BY MS. PATEL:
20 Q. Correct.

21 A. Yes.
22 Q. Okay. How long does that process

23 typically take for an individual?
24 MS. RYAN: Objection.

25 BR. It varies. It varies on a number of

 

 

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1 between the data that's contained in each of these

2 rows?

3 A. Sure. So the first row that says NTA and
4 Paroled into the U.S. on a case-by-case basis, that

5 reflects the individuals who -- the noncitizens who

6 were processed for NTA on our Southwest Border and

7 were subsequently paroled, that not -- not referred

8 for detention by ICE.

9 The second column parole disposition is all
10 of the other noncitizens that we processed at the

11 Southwest Border during that period of time, that

12 particular month where the individual was paroled,

13 where they were not put into removal proceedings but
14 where there was some other circumstance that

15 warranted the exercise of our discretionary

16 authority, so.

17 Q. Can you give me an example as to the

18 parole disposition?

19 A. Sure, so there are a number of reasons we
20 might parole an individual into the United States for
21 either humanitarian, law enforcement purposes, for
22 significant public benefit.
23 The most common reasons that we see I think
24 typically along the Southwest Border are urgent
25 medical concerns, there are people coming to attend

 

 

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1 funerals within a couple of days of a family member

2 who deceased in the United States and they were

3 unable to obtain travel documents.

4 We have noncitizen emergency response workers
5 who are part of mutual assistance agreements between
6 border communities along the border where they come

7 to provide emergency response services in the United
8 States, but would be inadmissible under our temporary
9 visitor classifications.

10 And so they need to be paroled in to perform
11 those functions, those are the types of examples of
12 what would be under the parole disposition.

13 Q. And so when they're paroled under the
14 parole disposition, are they given any type of
15 paperwork?

16 A. Yes. So the -- the documentation for a
17 parole is typically what we call an I-94, that's an
18 arrival/departure record. Up until a few years ago,
19 we would have given those in paper format but we have
20 been working to automate those records so that

21 individuals who are, even those processed for parole,
22 are able to access an electronic version of their
23 arrival/departure record, their I-94 through CBP's
24 website, 194.cbp.dhs.gov.
25 Q. Are there specific conditions for this

 

 

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1 Q. Okay. What specific instructions has OFO
2 received regarding family units?

3 MS. RYAN: Objection.

4 A. So we have -- it would have been part of
5 the conversations where the guidance is to maintain

6 family unity, but I don't think any of those

7 conversations have really explicitly changed the fact
8 that family unity can be preserved either in a

9 detention setting or typically --

10 And in fact, while there have been

11 conversations about maintaining family unity, OFO has
12 on occasion and when warranted, continued to separate
13 individuals who are part of the family because of

14 particularly egregious criminal histories for

15 example.

16 BY MS. PATEL:

17 Q. The circumstance that you are speaking

18 about, like how do you separate them?

19 MS. RYAN: Objection. Can I get
20 clarification what topic this is covering?

21 MS. PATEL: This is regarding the

22 non-detention policy topic, topic number two,
23 and I'm just following up on a statement that
24 he just made.

25 A. So the -- so you're asking how the

 

 

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1 families are separated. So typically that means that
2 the individual who is a part of a family who may have
3 a criminal history or represent a threat to the

4 community would be prioritized for detention, and if
5 it was not possible to detain the family unit, the

6 rest of that family with that individual, then that

7 individual would be prioritized for detention and

8 the rest of the family would be paroled, presuming

9 that they did not present similar risks to the
10 community.
11 BY MS. PATEL:
12 Q. And would that parole decision be made by
13 OFO?
14 MS. RYAN: Objection.
15 A. Again, that would depend on the

16 circumstances of the case. It may be the case, and I
17 would -- I would expect that in most cases because of
18 our guidance to maintain family unity, that

19 where OFO was advocating for prioritization of one
20 member of a family unit, the entire family unit would
21 be referred to ICE for determination of detention

22 capacity.
23 But I can't rule out the possibility that
24 there might have been some case at some point where
25 OFO would have made that decision, but typically it

 

 

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